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 1              IN THE UNITED STATES DISTRICT COURT FOR THE
 2                       EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,         )   CR. No. 1:10-cr-417-AWI
                                       )
 5                       Plaintiff,    )   ORDER GRANTING JOINT MOTION TO
                                       )   RELEASE SEALED TRANSCRIPTS FROM
 6             v.                      )   APRIL 9, 2012, HEARING AND FOR
                                       )   PROTECTIVE ORDER
 7                                     )
     MICHAEL MANFREDI,                 )
 8                                     )
                                       )
 9                       Defendant.    )
                                       )
10                                     )
11
12        Having reviewed the joint Motion to Produce Sealed
13   Transcripts and Motion for a Protective Order, the Court hereby
14   enters the following Order.
15        1.   The transcript for the hearing on April 9, 2012, held
16             in the above-captioned case, be sealed.
17        2.   A sealed copy of the transcript shall be released to
18             counsel for defendant Manfredi and to the attorneys
19             from the Government's filter team;
20        3.   Neither defendant Manfredi nor the attorneys from the
21             Government's filter team shall permit co-defendants,
22             potential trial witness, or attorneys or agents for
23             such persons to review the transcript;
24        4.   The Government's review of the transcript shall be
25             limited to the Government's filter team, including
26             attorneys Shelly Ward, Chiraag Bains, Barbara
27             Bosserman, and any attorney, paralegal, or
28             support-staff member assisting these attorneys in the
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 1                execution of their duties;
 2        5.      In no event shall any Government attorney, federal
 3                agent, paralegal, or support staff member who is
 4                assigned to the trial team, or who is assisting the
 5                trial team in the investigation and prosecution of this
 6                case, be provided with a copy of the transcript or
 7                permitted to review it; and
 8        6.      Any party may, for good cause, move for a modification
 9                of this Order.
10
11   IT IS SO ORDERED.
12
     Dated:         May 14, 2012
13   0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
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